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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY
______________________________
                                :
ADAM REED,                      :
                                :
           Petitioner,          :    Civ. No. 20-11523 (NLH)
                                :
     v.                         :    MEMORANDUM OPINION & ORDER
                                :
                                :
BRUCE DAVIS,                    :
                                :
           Respondent.          :
______________________________:

APPEARANCE:

Adam Reed
313270-C
New Jersey State Prison
PO Box 861
Trenton, NJ 08625

     Petitioner Pro se

Jill S. Mayer, Acting Camden County Prosecutor
Linda A. Shashoua, Acting Assistant Prosecutor
Office of the Camden County Prosecutor
200 Federal Street
Camden, NJ 08103

     Attorneys for Respondent

HILLMAN, District Judge

     WHEREAS, Petitioner Adam Reed filed a petition for writ of

habeas corpus pursuant to 28 U.S.C. § 2254, see ECF No. 1; and

     WHEREAS, Respondent submitted its answer on November 25,

2020, ECF No. 7; and

     WHEREAS, Petitioner requests an extension of time to file a

response, ECF No. 11,
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     THEREFORE, IT IS on this        12th       day of January, 2021

     ORDERED that Petitioner’s request for an extension, ECF No.

11, is granted.    The response is due February 5, 2021; and it is

finally

     ORDERED that the Clerk shall send Petitioner a copy of this

Order by regular mail.




                                            s/ Noel L. Hillman
At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




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